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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

IRON MAIDEN HOLDINGS LTD.,

       Plaintiff,                                         Case No.: 1:18-cv-6449

v.                                                        Judge Matthew F. Kennelly

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.
                                SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on November 20, 2018 [40] and

 November 28, 2018 [45], in favor of Plaintiff and against the Defendants Identified in Amended

 Schedule A. Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

 interest and desires to release this judgment and hereby fully and completely satisfy the same as

 to the following Defendants:

                    No.                          Defendant
                    410                           mmmlllJJ
                    338                            jiaqi258
                    317                         HomecnelD
                    456                        sdtaoshengjiu
                    386                          lutingstore
                    470                           sunhua88
                    533                         YuanYeraan
                    498                       weishengaijiejing
                    375                           liuziqi79
                    544                       Zhuanmingstore
                    245                         chenping92
                    396                          mantyview

        THEREFORE, full and complete satisfaction of said judgment as to above identified

 Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

 to make an entry of the full and complete satisfaction on the docket of said judgment.
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